
690 S.E.2d 275 (2010)
KING
v.
BEAUFORT CO. BD. OF EDUC.
No. 480A09.
Supreme Court of North Carolina.
January 7, 2010.
Erwin Byrd, Jane Wettach, for Revondia Harvey-Barrow.
Curtis H. (Trey) Allen, III, Raleigh, for Beaufort County Bd. of Educ.
The following order has been entered on the motion filed on the 22nd of December 2009 by Concerned Citizens for the Betterment of Beaufort Co. Schools, et al for leave to file Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference this the 7th of January 2010."
Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i).
